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        Exhibit F
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                    Internal memo tells Nygard employees to preserve documents


               Attorney says notice to sta is standard procedure
By: Ryan Thorpe | Posted: 03/11/2020 7:00 PM | Last Modi ed: 03/12/2020 6:18 AM |




   Hey there, time traveller!
   This article was published 11/3/2020 (211 days ago), so information in it may no longer be
   current.



Workers at Peter Nygard’s companies and sta at his properties have been
warned not to destroy documents or they could face criminal charges, an internal
company memo leaked to the Free Press shows.

The warning comes as the fashion mogul nds himself ensnared by a U.S. federal
law enforcement investigation and a class-action lawsuit led by 10 women
accusing him of drugging, raping and sodomizing them.

Nygard, 78, maintains his innocence. The allegations have not been proven in
court.

The internal memo was authored by Abe Rubinfeld, general counsel for Nygard’s
companies, and sent to all employees and sta Feb. 26.




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   Peter Nygard has announced his intention to divest ownership of the companies he forged for more than 50 years. (Mikaela
   MacKenzie / Winnipeg Free Press les)




"Until further notice, do not discard, delete, overwrite, alter, or destroy any
relevant paper documents or other physical items, or alter or destroy
electronically stored information," Rubinfeld wrote.

"Until further notice, suspend any document destruction policies, to the extent any
such policies are in e ect."

One day before the memo was sent, agents with the U.S. Federal Bureau of
Investigation and detectives with the New York Police Department raided Nygard’s
international headquarters in Times Square, leaving with boxes of unknown
evidence in hand.

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   Nygard has business interests in Winnipeg, the Bahamas, California, New York and Toronto. (John Woods / The Canadian Press les)




At the time of the raid, Jay Prober, one of Nygard’s attorneys, told the Free Press his
client expects to be cleared of claims of sexual misconduct. He also said the FBI
would nd no evidence of criminal wrongdoing in their search.

By the end of the day, Nygard — speaking through spokesman Ken Frydman —
announced his intention to divest ownership of the companies he forged for more
than 50 years.

Less than 24 hours before the raid on his Manhattan headquarters, Nygard’s
home in Marina del Ray, Calif., was also raided, according to a report from the New
York Times.


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The U.S. federal investigation has reportedly been underway for at least ve
months. The probe is headed up by a joint child-exploitation task force run out of
a U.S. Attorney’s o ce in New York.

The internal memo leaked to the Free Press calls on sta to "retain and preserve all
documents," related to Nygard and his business interests in the Bahamas,
California, Winnipeg and Toronto. It notes the request is prompted by the ongoing
civil litigation and criminal probe.

"It’s basically standard procedure. It’s no di erent than when a media reporter
gets sued and your editor or publisher says, ‘Keep your emails, keep your texts,
keep your notes,'" Prober said.

"It’s also an example of the full co-operation that Nygard and his companies are
providing. It’s normal, standard procedure and it’s indicative of the kind of co-
operation that’s being provided."

The memo from Rubinfeld said employees could be subject to criminal liability if
they do not follow his instructions on evidence preservation.

"Please note that failure to preserve these materials or any other materials that
fall within the scope of any of the categories set forth above could be detrimental
to (the defendants’) position with respect to the lawsuit," Rubinfeld wrote.

"(It could also) constitute obstruction of the investigation, and could result in,
among other things, criminal prosecution and/or other sanctions, as well as
  nancial penalties and termination of your employment."

The memo ends by noting the instructions remain in e ect until further notice.



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"If you have any doubt as to whether this notice applies to a speci c document,
physical item or communication, you should err on the side of caution by
preserving the item," Rubinfeld wrote.

On top of the criminal probe, Nygard is the subject of civil litigation.

On Feb. 13, 10 women accused Nygard of drugging, raping and sodomizing them
in a class-action lawsuit led in the United States District Court for the Southern
District of New York.

Greg Gutzler, co-counsel for the accusers, said since the lawsuit was led last
month, 50 other women have approached the rm with similar allegations of
abuse. The accusations involve alleged victims in ve countries on three
continents, and span four decades.

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Ryan Thorpe
Reporter

Ryan Thorpe likes the pace of daily news, the feeling of a broadsheet in his hands and the stress of never-
ending deadlines hanging over his head.

 Read full biography


            HISTORY



            Updated on Thursday, March 12, 2020 at 6:18 AM CDT: Corrects typo.




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       number. Letters are edited for length and clarity.




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